Case 1:23-cv-00426-SM   Document 37-16      Filed 04/30/25   Page 1 of 10


                                                                            1
               UNITED STATES DISTRICT COURT
            FOR THE DISTRICT OF NEW HAMPSHIRE




******************************
AMRO FARID
           vs.                                           23-cv-426-SM
TRUSTEES OF DARTMOUTH COLLEGE
******************************




     DEPOSITION BY ZOOM OF ANDREW CAMPBELL, a witness
called on behalf of the Plaintiff, pursuant to the
Rules of Civil Procedure, before Karen D. Pomeroy,
Registered Diplomate Reporter and Licensed Court
Reporter (No. 71) in and for the State of
New Hampshire, at
          , on Thursday, February 20th, 2025, commencing
at 9:32 a.m.




                         Dunn Reporting Services, Inc.
                              617-422-0005
     Case 1:23-cv-00426-SM    Document 37-16      Filed 04/30/25   Page 2 of 10


                                                                                  2
 1   APPEARANCES:
 2   JOSEPH L. SULMAN, ESQUIRE
 3   Law Office of Joseph L. Sulman
 4   255 Bear Hill Road, Suite 204
 5   Waltham, Massachusetts 02451
 6   For the Plaintiff
 7

 8

 9   PIERRE CHABOT, ESQUIRE
10   Devine Millimet
11   111 Amherst Street
12   Manchester, New Hampshire 03101
13   For the Defendant
14

15

16   Also Present:           Amro Farid
17

18

19

20

21

22

23

24




                               Dunn Reporting Services, Inc.
                                    617-422-0005
     Case 1:23-cv-00426-SM   Document 37-16      Filed 04/30/25   Page 3 of 10


                                                                                   3
 1                          INDEX
 2   DEPOSITION OF ANDREW CAMPBELL                                          PAGE
 3   Examination by Mr. Sulman
 4
 5
 6
 7
 8
 9                                EXHIBITS
10   Number                                         Page
11   Exhibit 1  Campbell Website Pages               136
     Exhibit 2  CTBH Center Highlights Document      136
12   Exhibit 3  Augmented Health Lab Website Pages 136
     Exhibit 4  Abstract of Campbell Journal Article 136
13   Exhibit 5  Research Misconduct Policy and
                Procedures                           136
14   Exhibit 6 8/2/23 Email                          136
     Exhibit 7 9/21/23 Email Chain                   136
15   Exhibit 8 7/21/23 Email Chain                   136
     Exhibit 9 10/26/23 Email Chain                  136
16   Exhibit 10 11/20/23 Email Chain                 136
     Exhibit 11 12/9/23 Email Chain                  136
17   Exhibit 12 1/15/24 Email Chain                  136
     Exhibit 13 1/22/24 Email                        136
18   Exhibit 14 Farid Production Documents, 185 pp.    136
     Exhibit 15 2/21/24 Email Chain                  136
19   Exhibit 16 2/23/24 Email Chain                  136
     Exhibit 17 2/29/24 Email Chain                  136
20   Exhibit 18 3/5/24 Email Chain                   136
     Exhibit 19 3/20/24 Email Chain                  136
21
22
23
24   Exhibits Attached


                              Dunn Reporting Services, Inc.
                                   617-422-0005
     Case 1:23-cv-00426-SM   Document 37-16      Filed 04/30/25   Page 4 of 10


                                                                                 4
 1                             STIPULATIONS
 2              It is stipulated by and between counsel for
 3        the respective parties that the deposition
 4        transcript is to be read and signed by the
 5        deponent under the pains and penalties of
 6        perjury; and that the sealing and filing thereof
 7        are waived; and that all objections, except as to
 8        form, and motions to strike are reserved until
 9        the time of trial.
10                                    * * *
11                           ANDREW CAMPBELL,
12        having been duly remotely sworn by the
13        reporter, was deposed and testified as
14        follows:
15                              EXAMINATION
16   BY MR. SULMAN:
17   Q.   Good morning, sir.
18   A.   Good morning.
19   Q.   Okay.     Can you please state your name for the
20        record.
21   A.   Andrew Campbell.
22   Q.   And would you like me to call you Dr. Campbell?
23        Andrew?      How would you like me to call you
24        today?



                              Dunn Reporting Services, Inc.
                                   617-422-0005
     Case 1:23-cv-00426-SM   Document 37-16      Filed 04/30/25   Page 5 of 10


                                                                                 65
 1        decision making, and I certainly didn't have time
 2        to do the opposite.
 3              So that was the conflict really.                    I felt the
 4        right thing was for the committee to actually
 5        understand and process all of the information and
 6        make a -- you know, a good, well-understood
 7        judgment based on that.
 8              For me that was the right way to go, but the
 9        conflict was that would mean hundreds of hours.
10        I'd literally have to give up all the things I
11        was doing at the time, teaching, et cetera; so I
12        felt a struggle with that and the alternative,
13        which is to push it into the domain of experts
14        and so many reports going back to the committee.
15   Q.   And is that what led to your resignation from the
16        committee?
17   A.   Yes.
18   Q.   So can you summarize for me why you resigned from
19        the committee?
20              MR. CHABOT:       Asked and answered.               Go ahead.
21   A.   You want me to summarize all the things I just
22        said to you?
23   BY MR. SULMAN:
24   Q.   Yeah.     It was kind of over five minutes.                     Can you



                              Dunn Reporting Services, Inc.
                                   617-422-0005
     Case 1:23-cv-00426-SM   Document 37-16      Filed 04/30/25   Page 6 of 10


                                                                                 66
 1        just summarize why you resigned from the
 2        committee.
 3              MR. CHABOT:       Same objection.             Sorry.
 4   A.   I felt that --
 5   BY MR. SULMAN:
 6   Q.   Go ahead.
 7   A.   I felt that it -- you know, I felt the committee
 8        had -- in my opinion, had moved from the very
 9        early period when it was operating, which in my
10        mind was, well, we had the paper; we had
11        interviewed Prabhat; we'd given Professor Farid
12        an opportunity to respond -- to meet the
13        committee.
14              At that point, with the information that we
15        had, before we had -- and I don't recall exactly
16        the date that we got the response from
17        Professor Farid, but in that early phase, to me,
18        the -- the workings of the committee were clear
19        cut and I had a clear-cut opinion about what had
20        happened here.
21              Then, post that additional information that
22        we had, I felt it moved into a completely
23        different domain where I struggled with the fact
24        that to do the right job, I would need hundreds



                              Dunn Reporting Services, Inc.
                                   617-422-0005
     Case 1:23-cv-00426-SM   Document 37-16      Filed 04/30/25   Page 7 of 10


                                                                                 67
 1        of hours of my time; and I couldn't do that, and
 2        I didn't feel comfortable with it being in the
 3        domain of experts telling me their opinion,
 4        right.
 5              So that was the conflict that was set up in
 6        my mind and ultimately led me to decide that I
 7        could no longer, you know, work on the committee.
 8   Q.   And when you -- and when you resigned from the
 9        committee, had you made any determinations on the
10        allegations?
11   A.   Well, I think, you know, it's -- that's a very
12        interesting question, and maybe I'll answer it
13        this way.
14              It really was like a moving target.                     That's
15        probably got the wrong analogy, but the amount of
16        information, particularly the last set of -- the
17        response from Professor Farid moved -- it -- you
18        know, it sort of moved the committee's work into
19        a -- sort of like -- you know, it sort of scaled
20        up what we needed to do because it -- to be fair
21        to Professor Farid, and of course that's what we
22        wanted to do, we'd have had to have gone through
23        each of his responses in -- I don't know how many
24        pages were in that document, over 200, and



                              Dunn Reporting Services, Inc.
                                   617-422-0005
     Case 1:23-cv-00426-SM   Document 37-16      Filed 04/30/25   Page 8 of 10


                                                                                 68
 1        actually convinced ourselves that he was right or
 2        wrong, right, in his assessment of what happened,
 3        and that was a massive undertaking, right, for
 4        me.
 5              So at that point, when I read his document,
 6        without coming to any conclusions about what he
 7        was writing about, I felt overwhelmed.                       That
 8        was -- I felt overwhelmed.
 9              But at the very early phases when we were
10        just looking at the early LaTeX or the early,
11        sorry, Overleaf from the student and what was,
12        you know, the initial ideas that were in the
13        paper that Prabhat provided to us, right, and
14        the -- and the published -- and the published
15        document, it was -- it was very clear to me --
16        and again this was early -- you know, I'm trying
17        to be very clear here.
18              So in the course of this whole, I don't know,
19        investigation I was involved in, in the early
20        phases before we got the response from -- from
21        Professor Farid, it seemed to me that the
22        allegations were correct in my mind; that what
23        had happened here was that the student had worked
24        on some ideas that were in the paper that ended



                              Dunn Reporting Services, Inc.
                                   617-422-0005
     Case 1:23-cv-00426-SM   Document 37-16      Filed 04/30/25   Page 9 of 10


                                                                                 69
 1        up in the final publication, and so early -- you
 2        know, early on in -- whilst we never came to --
 3        whilst we never wrote down any specific summary,
 4        but in our discussions, I personally felt that
 5        there was a strong case for research
 6        misconduct.
 7   Q.   But that was before you received any response
 8        from Professor Farid?
 9   A.   Yes, exactly.        I want to make that clear.                  Things
10        changed, right, and I'd describe it as, you know,
11        the waters got muddied by the fact that we got
12        this and we had to, of course, take that into
13        account; so my opinions were set aside at that
14        point based on the early information that we got
15        in the committee; and with an open mind, I had to
16        say to myself, okay, well, now we have to
17        consider this, right; so -- but the early phases,
18        you know, because I myself am an advisor; I
19        myself have worked, you know, with students on
20        lots of papers, and the idea of like working with
21        a young Ph.D. student on a paper and for that
22        paper not to acknowledge him in any way seemed to
23        me to run counter to certainly everything that
24        I -- that I stand on as an academic.



                              Dunn Reporting Services, Inc.
                                   617-422-0005
     Case 1:23-cv-00426-SM   Document 37-16      Filed 04/30/25        Page 10 of 10


                                                                                       70
 1              So the early evidence strongly seemed to me
 2         to be like it was a -- you know, in the sort of
 3         like the Dartmouth plagiarism description, it was
 4         sort of a significant departure from what I would
 5         expect any academic to do in research.
 6    Q.   Thank you.
 7              MR. SULMAN:        Off the record.
 8    (Recess was taken from 11:05 a.m. until 11:22 a.m.)
 9    BY MR. SULMAN:
10    Q.   Professor Cambell, I've sent you Exhibit 6
11         through the chat box.              Let me know when you have
12         it open.
13    A.   I don't see anything in chat.                       Okay.     I see that.
14         Yeah.
15    Q.   Okay.    Exhibit 6 is an email from Prabhat Hegde
16         to yourself, Prasad Jayanti, and an email -- is
17         that Professor Loparo's email?
18              MR. CHABOT:        Object to the form.
19              You can answer.
20    A.   In this attachment, I only see an email.
21    Q.   Right.
22    A.   Okay.
23    Q.   This is an email from Prabhat Hegde on
24         August 2nd; right?



                               Dunn Reporting Services, Inc.
                                    617-422-0005
